   Case 5:21-cr-50021-JLV Document 1 Filed 02/19/21 Page 1 of 3 PageID #: 1




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                               WESTERN DIVISION



UNITED STATES OF AMERICA,

                  Plaintiff,              REDACTED INDICTMENT


      vs.                                Receipt of Child Pornography
                                         (18 U.S.C. § 2252A(a)(2)(A))
MATTHEW SHAWN BUCHKO,
                                         Possession of Child Pornography
                  Defendant.             (18 U.S.C. § 2252A(a)(5)(B))




      The Grand Jury charges:
                                     COUNT I


      On or about between September 27, 2019, and February 27, 2020, at

Rapid City, in the District of South Dakota, the defendant, Matthew Shawn

Buchko, knowingly received any visual depiction that had been shipped and

transported in and affecting interstate and foreign commerce by any means,

including by computer, and the defendant, Matthew Shawn Buchko, knew the

production of such visual depiction involved the use of a minor engaging in

sexually explicit conduct and the defendant, Matthew Shawn Buchko, knew the

visual depiction was of such conduct, all in violation of 18 U.S.C. §

2252A(a)(2)(A).

                                     COUNT II


      On or about between September 27, 2019, and February 27, 2020, at

Rapid City, in the District of South Dakota, the defendant, Matthew Shawn

Buchko, did knowingly possess computer files that contained images of child
   Case 5:21-cr-50021-JLV Document 1 Filed 02/19/21 Page 2 of 3 PageID #: 2




pornography that had been mailed and shipped and transported in interstate

and foreign commerce by any means, including by computer, and that were

produced using material that had been mailed and shipped and transported in

interstate and foreign commerce by any means, including by computer, all in

violation of 18 U.S.C. § 2252A(a)(5)(B).

                          FORFEITURE ALLEGATION


      1. The allegations contained in this indictment are re-alleged as if fully set

forth here, for the purpose of alleging forfeiture, pursuant to 18 U.S.C. § 2253.

      2. If convicted of an offense set forth above, Matthew Shawn Buchko, the

defendant herein, shall forfeit to the United States any and all materials or

property used or intended to be used in the distribution, receipt, or possession

of child pornography. Such property includes, but is not limited to, the following

specific items found in the possession of Matthew Shawn Buchko on or about

February 27, 2020.

   A. One Samsung Gala?y Note 9, SM-N960U cell phone, with serial number

      RF8K92VWG1F;

   B. One Western Digital MyBook 3TB External Hard Drive, with serial number

      WMC1T0651439;

   C. One Western Digital 320 GB External Hard Drive, with serial number

      WXE808FA2882;

   D. One Western Digital 320 GB External Hard Drive, with serial number

      WXE808CX7812;
  Case 5:21-cr-50021-JLV Document 1 Filed 02/19/21 Page 3 of 3 PageID #: 3




  E. One Hewlett Packard 17m-ael 1 Idx Laptop Computer, with serial number

      17051IJR1000BN2ZGJ3E;

  F. One Apple A1251 Laptop Computer, with serial number W88150F7YP3;

  G. One Lexar 32 GB SD Card, with ECU 2020-047HS;

  H. One   Samsung    SM-G930V     Cellular   Phone,   with   serial   number

      R38H20ED0QM.

                                   A TRUE BILL:

                                   Name Redacted


                                  Foreperson

RONALD A. PARSONS, JR.
United States Attorney


By;
